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of. meokoh ON -

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Clerks Office

District Court

50 Walnut Street

Newark, New Jersey 07101

Re: D'Antonio vs Borough of Allendale et als
Docket No. 2:16-cv-00816-CCC-JBC
Request for Writ of Executions to be signed, Grant Motion to Amend
Complain To Add Emigrant Savings and Retained Realty as Defendants.
Partial Order To Return Plaintiff's Home at 316 E. Allendale Ave.

. Dear Judge Clark.

This Matter is over 3 1/2 years old. The Writs of Execution for Default Judgment
have not been signed against Jack Levin/ Borough of Allendale, Thomas Monahan and
Louis Capazzi .

Two named Defendants have moved out of State, Mr. Epstein a Defendant and an
Attorney closed his practice and retired. Stiles Thomas a Defendant sold his house and
moved.

There is presently a Motion to Amend my Complaint to add Emigrant Savings
and Retained Realty. Mr. Epstein was the Attorney and in that Mr. Epstein effectuated
the payments totaling $60,000.00 more than the required eviction fees, Judge Innes a
Chancery Judge signed an Order to return said funds by the Bergen County Sheriff's
Dept. which was not done. In House Counsel for the Sheriffs Office denied public access
to the Checking account ledgers to verify the initial deposit and the return of said funds.

In that Mr. Epstein will seek protection that he only represented the Bank it is
now necessary to join the Bank; Emigrant Savings and its Holding entity Retained Realty
for Bribing the Bergen County Sheriffs Dept for the illegal eviction and transferring the

Sheriff's Deed on my former property

I further request a partial decision to return the Deed to the House at 316 E.
Allendale Ave in that the Mortgage contract was not signed, a non entity to the contract
made 40 consecutive payments on the Mortgage thereby the mortgage contract was void
by Operation of Law, further the Deed Obtained by the Bank from the Sheriff's Dept was
obtained through extortion and bribery thereby making the eviction void by Operation of
Law.

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Please enter this on the ECF system as notice to all parties

Thank you,

-Michael D'Antonio

 
